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 1                             UNITED STATES DISTRICT COURT
 2                                      DISTRICT OF NEVADA
 3

 4    UNITED STATES OF AMERICA,                       )   2:10-cr-284-RLH-PAL-3
                                                      )
 5                     Plaintiff,                     )
                                                      )
 6                     vs.                            )   ORDER UNSEALING
                                                      )   DOCKET ENTRIES, PROCEEDINGS,
 7    JIMMY WILSON,                                   )   AND DOCUMENTS
                                                      )
 8                     Defendant.                     )
                                                      )
 9
              Based upon a stipulation between the parties and a Court order thereon, this matter,
10
      including all docket entries, all proceedings and any transcripts of those proceedings, and
11
      particular documents, was previously sealed. Mr. Wilson’s case is now near its conclusion, and
12
      the parties agreed in open court on January 13, 2012, that a blanket sealing order is no longer
13
      necessary or appropriate. It is, therefore,
14
              ORDERED that all docket entries in the above-captioned matter shall be published to the
15
      public docket;
16
              IT IS FURTHER ORDERED that all proceedings in the above-captioned matter, as well
17
      as transcripts of all such proceedings, are HEREBY UNSEALED;
18
              IT IS FURTHER ORDERED that all documents in the above-captioned case are
19
      HEREBY UNSEALED and shall be made available on the public docket, with the exception of
20
      the following documents (which shall remain sealed):
21
              •     all stipulations to continue Mr. Wilson’s sentencing, where those stipulations were
22
                    previously filed under seal, and any orders thereon; and
23
              •     any government motion relating to Mr. Wilson’s sentence and any order thereon.
24                                    January 2012.
                          17th day of _________,
              DATED this ______
25

26

                                                    UNITED STATES DISTRICT JUDGE
